20-10118-hcm Doc#5 Filed 01/24/20 Entered 01/31/20 11:29:43 Main Document Pg 1 of 23
20-10118-hcm Doc#5 Filed 01/24/20 Entered 01/31/20 11:29:43 Main Document Pg 2 of 23
20-10118-hcm Doc#5 Filed 01/24/20 Entered 01/31/20 11:29:43 Main Document Pg 3 of 23
20-10118-hcm Doc#5 Filed 01/24/20 Entered 01/31/20 11:29:43 Main Document Pg 4 of 23
20-10118-hcm Doc#5 Filed 01/24/20 Entered 01/31/20 11:29:43 Main Document Pg 5 of 23
20-10118-hcm Doc#5 Filed 01/24/20 Entered 01/31/20 11:29:43 Main Document Pg 6 of 23
20-10118-hcm Doc#5 Filed 01/24/20 Entered 01/31/20 11:29:43 Main Document Pg 7 of 23
20-10118-hcm Doc#5 Filed 01/24/20 Entered 01/31/20 11:29:43 Main Document Pg 8 of 23
20-10118-hcm Doc#5 Filed 01/24/20 Entered 01/31/20 11:29:43 Main Document Pg 9 of 23
20-10118-hcm Doc#5 Filed 01/24/20 Entered 01/31/20 11:29:43 Main Document Pg 10 of
                                        23
20-10118-hcm Doc#5 Filed 01/24/20 Entered 01/31/20 11:29:43 Main Document Pg 11 of
                                        23
20-10118-hcm Doc#5 Filed 01/24/20 Entered 01/31/20 11:29:43 Main Document Pg 12 of
                                        23
20-10118-hcm Doc#5 Filed 01/24/20 Entered 01/31/20 11:29:43 Main Document Pg 13 of
                                        23
20-10118-hcm Doc#5 Filed 01/24/20 Entered 01/31/20 11:29:43 Main Document Pg 14 of
                                        23
20-10118-hcm Doc#5 Filed 01/24/20 Entered 01/31/20 11:29:43 Main Document Pg 15 of
                                        23
20-10118-hcm Doc#5 Filed 01/24/20 Entered 01/31/20 11:29:43 Main Document Pg 16 of
                                        23
20-10118-hcm Doc#5 Filed 01/24/20 Entered 01/31/20 11:29:43 Main Document Pg 17 of
                                        23
20-10118-hcm Doc#5 Filed 01/24/20 Entered 01/31/20 11:29:43 Main Document Pg 18 of
                                        23
20-10118-hcm Doc#5 Filed 01/24/20 Entered 01/31/20 11:29:43 Main Document Pg 19 of
                                        23
20-10118-hcm Doc#5 Filed 01/24/20 Entered 01/31/20 11:29:43 Main Document Pg 20 of
                                        23
20-10118-hcm Doc#5 Filed 01/24/20 Entered 01/31/20 11:29:43 Main Document Pg 21 of
                                        23
20-10118-hcm Doc#5 Filed 01/24/20 Entered 01/31/20 11:29:43 Main Document Pg 22 of
                                        23
20-10118-hcm Doc#5 Filed 01/24/20 Entered 01/31/20 11:29:43 Main Document Pg 23 of
                                        23
